            Case 5:18-cv-00680-FB Document 25 Filed 08/31/18 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

RUSSELL ZINTER, JACK MILLER,                        )
BRIAN HOWD, JAMES A. MEAD,                          )
JOSEPH BRANDON PIERCE; MARK                         )
BROWN; DAVID BAILEY; JUAN                           )
GONZALES JR., KEVIN EGAN,                           )
JONATHON GREEN, and JAMES                           )
SPRINGER,                                           )
                                                    )
       Plaintiffs,                                  )
                                                    )
V.                                                  )       CIVIL ACTION NO. SA-18-CA-680-FB
                                                    )
CHIEF JOSEPH SALVAGGIO;                             )
LIEUTENANT JOHN DOE ANDERSON;                       )
OFFICER JANE DOE GOLDMAN;                           )
OFFICER JOHN DOE VASQUEZ;                           )
CPL. C. MANDRY; SERGEANT JOHN                       )
DOE; DETECTIVE JIM WELLS;                           )
OFFICER L. FARIAS, Badge 534;                       )
OFFICER JOHN DOE EVANS, Badge 556;                  )
OFFICER JOHN DOE HERNANDEZ;                         )
JOHN DOE TAZER 1; JOHN DOE                          )
TAZER 2; and THE CITY OF LEON                       )
VALLEY,                                             )
                                                    )
       Defendants.                                  )

              ORDER CONCERNING TEMPORARY RESTRAINING ORDER
                     AND NOTICE TO APPEAR FOR HEARING

       Before the Court are Plaintiffs’ Motion to Extend Temporary Restraining Order (docket no. 23)

and the City of Leon Valley’s written objection ( docket no. 24) thereto which states that “the City is

preparing its response to the Court’s TRO and it will be filed timely within the allowable period.” After

careful consideration, the Court is of the opinion that the Temporary Restraining Order should be

extended until a hearing can be held in this matter at 10 a.m. on Friday, September 7, 2018.
           Case 5:18-cv-00680-FB Document 25 Filed 08/31/18 Page 2 of 2



       IT IS THEREFORE ORDERED that Plaintiffs’ Motion to Extend Temporary Restraining Order

(docket no. 23) is GRANTED such that this matter is SET for a hearing at 10 a.m. on Friday,

September 7, 2018, in Courtroom 2 of the John H. Wood, Jr. United States Courthouse, 655 East

César E. Chávez Blvd., San Antonio, Texas.

       It is so ORDERED.

       SIGNED this 31st day of August, 2018.


                                     _________________________________________________
                                   FRED BIERY
                                   UNITED STATES DISTRICT JUDGE




                                               2
